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                                IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF OREGON



     LEGACY EMANUAL HOSPITAL &                           Case No. 6:22-cv-01460-MO
     HEALTH CENTER d/b/a UNITY CENTER                    Case No. 3:02-cv-00339-MO (Lead Case)
     FOR BEHAVIORAL HEALTH; LEGACY                       Case No. 3:21-cv-01637-MO (Member Case)
     HEALTH SYSTEM; PEACEHEALTH;
     PROVIDENCE HEALTH & SERVICES—                       DECLARATION OF THOMAS STENSON
     OREGON; and ST. CHARLES HEALTH                      IN SUPPORT OF AMICUS BRIEF
     SYSTEM, INC.,                                       REGARDING MOTIONS TO INTERVENE
                                                         AND THIRD-PARTY STANDING
                      Plaintiffs,

               v.

     PATRICK ALLEN, in his official capacity as
     head of the Oregon Health Authority, and
     DOLORES MATTEUCCI, in her official
     capacity as Superintendent of the Oregon State
     Hospital,
                      Error! Reference source not
     found..


            DECLARATION OF THOMAS STENSON IN SUPPORT OF AMICUS BRIEF
            REGARDING MOTIONS TO INTERVENE AND THIRD-PARTY STANDING
     I hereby declare under penalty of perjury:

           1. I am a resident of Oregon, over the age of 21, and competent to testify to the following.




Page 1 -   DECLARATION OF THOMAS STENSON IN SUPPORT OF AMICUS BRIEF
           REGARDING MOTIONS TO INTERVENE AND THIRD-PARTY STANDING
             Case 3:21-cv-01637-AN           Document 338        Filed 01/21/25      Page 2 of 2




           2. Attached as Exhibit 1 to this declaration is a true and correct copy of the February 2024

              report—with minor redactions—of the Centers for Medicare & Medicaid Services

              regarding EMTALA violations at the Providence Milwaukie Hospital, dated February 15,

              2024.

           3. Providence Milwaukie Hospital is a hospital operated by Providence Health & Services-

              Oregon, one of the plaintiffs in this matter.



              DATED January 21, 2025.



                                             DISABILITY RIGHTS OREGON

                                             /s Thomas Stenson
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           REGARDING MOTIONS TO INTERVENE AND THIRD-PARTY STANDING
